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               Exhibit C
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                      UNITED STATES DISTRICT COURT
                      F'OR THE DISTRICT OX' COLUMBIA



UNITED STATES, ex rel.,                    )
FLOYD LANDIS,                              )
                                           )
              Plaintiff,                   )
                                           ) No. 1 :10-cv-00976 (CRC)
          v                                )
                                           )
TAILWIND SPORTS CORPORATION,               )
et al.,                                    )
                                           )
              Defendants.                  )


                           EXPERT REPORT OF BRIAN   TILL
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My Name is Brian David Till. I am Dean of the College of Business and Administration
and Professor of Marketing at Marquette University. I have a B.S. in Advertising and
MBA from the University of Texas at Austin andaPh.D. in Business with a major in
marketing and a minor in psychology from the University of South Carolina. Prior to my
universiÇ career,I worked in brand management at Purina. I have taught in the areas of
marketing and advertising full-time for approximately twenty years. My research has
been primarily in the areas of associative leaming, brand equity, and celebrity endorsers.
I havã published in journals such as Journal of Advertising,Journal of Marketing
Research, Journal of the Academy of Marketing Science, Journal of Consumer
Marketing, Psychologt & Marketing, andJournal of Product & Brand Management. I
also consult in the area of marketing strategy and advertising. Past clients include
Monsanto, Energizer,Charter Communication, AT&T, Medicine Shoppe International,
and Growmark.

I have been retained on several occasions to give expert testimony in connection with my
areas of academic expertise. Attached to this report is my curriculum vita, where I
describe my background in more detail. V/ithin the past 4 years I served as an expert
witness in Playtex Products, LI-C and Eveready Battery Company v. Munchkin, Inc.
(U.S. Patent and Trade Office).

I am being compensated for my work in this case at my standard hourly rate of $300 per
hour. My compensation for my work in this case does not depend in any way on the
outcome of the case.

I have reviewed avariety of materials in the United States ex rel. Landis v. Tailwind
Sports, Lance Armstrong & Johan Bruyneel case including the complaint, the Order
dõnying the defendants' motion to dismiss, USADA decision, sponsorship agreements, Q
Scoies, and relevant academic literature. Below is a complete statement of the materials
on which I have relied in forming my opinions. While I may receive more information
that will be relevant to my opinions, based on my training, knowledge, education,
experience, and research-to-date in this case, I make the following observations and
express the following opinions.

SUMMARY OF CONCLUSIONS

    1.   The USPS Sponsorship of Lance Armstrong's cycling team created an associative
         link between the USPS and Armstrong. There is evidence that consumers
         associated Armstrong with the USPS even after the Sponsorship ended.
    2.   A 1998 study I co-authored shows that negative information about celebrity
         athletes (in the study, a bicycle racer) affects consumer perception of the brands
         the celebrity endorses.
    3.   Due to the associative link between the USPS and Armstrong, it is highly likely
         that information about Armstrong's use of performance-enhancing substances and
         techniques negatively affected consumer perception of the USPS.




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     4   It is highly likely that Armstrong's tarnished image reflected negatively on the
         USPS and deprived the USPS of the positive associative benefits expected
         through their Sponsorship.

DISCUSSION

l. The USPS sponsored a professional cycling team from 1996-2004, with Lance
Armstrong as the lead rider during the sponsorship years 1998-2004. Research on
sponsorships indicates that they can be effective brand building tools even for non-profits
and reinforce specific brand associations (Becker-Olsen and Hill 2006), increase
consumer preference (Dean 2004), increase sales, particularly when the athlete has a
strong reputation (Elberse and Verleun 2012).

The associative links built between an endorser and a brand extend over time and are
resistant to extinction (Ti11, Stanley and Priluck 2008).
The 2000 renewal of USPS sponsorship of Lance Armstrong's cycling team reflected
USPS' commitment to the importance of that sponsorship in its brand building activities.
The importance of repetition in building a strong connection between an endorser and a
brand is key principle of associative leaming and an important factor in using an endorser
effectively (Till 1993). And the length of the sponsorship relationship between Lance
Armstrong's cycling team and the USPS is a significant contributing factor to the
development of a strong associative link between the two.

The theoretical mechanism underlying sponsorship and endorsement effects is associative
leaming, a process through which associative links are built (and strengthened) between
the sponsoring brand (USPS) and the sponsored property (Lance Armstrong and the
USPS bicycle team).

At  a fundamental level, associative learning is a process by which connections
(associative links) are formed in memory. There are several basic principles underlying
this process (overviewed as applied to celebrity endorsers in Till 1998). A brief overview
of these principles includes:

-repetition (including media impressions linking sponsored property and sponsoring
brand) builds and strengthens these links
-links are formed more easily when there are fewer competing stimuli for the building of
the association (overshadowing and blocking)
-links are formed more easily when there is some congruence between the association
objects (fitlsimilarity)
-links are formed more easily between two association objects when those association
objects have fewer pre-existing links with other association objects

Repeated association via a variety of sponsorship and communication activities builds a
link between the brand and the sponsored entity (Till and Shimp 1998, Till 1998,
 Zdravkovic and Till 2012). And it is through this link that meanings, both positive and




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negative, transfer from the sponsored property to the sponsoring brand (McCracken 1989,
Til 1998).
In this case, the USPS management of its sponsorship aligned itself well with principles
associated with the development of a strong link between USPS and the Lance
Armstrong riding team. The sponsorship extended over multiple years (1996-2004). The
USPS logo was prominently displayed on the team uniform and vehicle and the USPS
engaged in various activities (identified in above paragraph) to activate the sponsorship
atrã bnild a strong link between Lance Armstrong and the USPS. Additionally, this was
the primary sponsorship activity for the USPS and the primary (main) sponsorship for
Lance Armstrong's team. The combination of repetition, prominence of visibility of the
sponsorship, and no similar USPS sponsorships all are consistent with theoretical
mechanisms (repetition, overshadowing/blocking) that increase the likelihood of a strong
associative link between USPS and Lance Armstrong.

Further, associative links are built through repetition. The reports on the media coverage
of the Sponsorship authored by IEG, FCB, and CE provide substantiation that consumer
exposure to the sponsoring relationship was widespread and relatively intense.

An IPSOS December 2012 study provides additional evidence for the effectiveness of
creating an association between USPS and Lance Armstrong's cycling team. In2012,8
y"urs aft"t the discontinuation of the sponsorship, awareness of sponsorship was 12.3o/o,
with individuals reporting shipping responsibilities in worþlace more likely to be aware
of the sponsorship.

2. When there is a strong associative link between a brand and an endorser, negative
information about the endorser is likely to have a negative effect on the endorsed brand.
The Till and Shimp (199S) paper demonstrated empirically that negative information
about an athlete endorser can negatively affect attitude toward the endorsed brand. The
causal explanation behind this effect is that it is across the associative link between the
brand and the endorser that negative feelings toward the endorser transfer to the brand.
This is simply the inverse of the value of using a celebrity endorser in which positive
feelings toward a well-liked celebrity can transfer to the brand(s) they endorse. However
there is always some risk of negative celebrity publicity affecting endorsed brands.

These effects are consistent with research showing that negative information about
celebrity impacts attitude toward brand (Amos, Holmes and Strutton 2008, Bailey 2007,
Till and Shimp 1998, White, Goddard and Wilbur) 2009), purchase intent (Bailey 2007,
Money, Shimp and Sakano 2006), and firm value as reflected by stock price, particularly
with greater media attention and more prominent celebrities (Bartz, Molchanov and Stork
2013) and when the celebrity is considered responsible for the negative event (Louie,
Kulik and Jacobson 2001),

Such negative celebrity effects also hold true for athletes (as athletes are one type   of
celebrity). In the Till and Shimp (199S) study, the researchers conducted several
experiments to understand whether or not (and under what conditions) negative



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information about an athlete (in their study, a bicycle racer) might affect attitude toward
the endorsed brand (in their study, a bicycle). The experiments examined several
variables including the type of negative information, the size of the association sets for
the brand and the athlete, and the strength of the associative link between the brand and
the athlete. The fïndings consistently demonstrated that negative information about an
athlete affects the endorsed brand. And that this effect is particularly pronounced when
the association sets for the brand and athlete are small and the associative link between
the brand and athlete is strong. These negative associations more easily transfer from
endorser to brand than positive associations (Campbell and W'arren 2012).

Recently several NFL players have been struck by off-field problems, most notably (now
ex-) Baltimore Raven Ray Rice was dropped by all his sponsors as a result of the
allegation of striking his then fiancé (Adweek 9l9ll4). Nike suspended their
endorsement relationship with Adrian Peterson, and Castrol oil dropped their
endorsement relationship with him, as a result of child abuse allegations against him
(CNNMoney 9116114). These actions are a direct consequence of the sensitivity that
brand managers have with respect to the associations their brand has.

3. As the public face of the USPS cycling team,Lance Armstrong's admitted PED use,
accompanied by substantial news coverage, resulted in a lowering (tarnishing) of Lance
Armstrong's image.

Armstrong admitted use of ban substances in a televised interview with Oprah Winfrey
on January 17 and 18,2013. Media coverage of Armstrong's PED use was wide-
ranging-television, internet, social media and high profile print publications. Such
extensive coverage did impact the public's perception of Armstrong. Armstrong's
resultant tarnished image led to a series of sponsor defections including Nike, Anheuser-
Busch and Trek (USA Today 10lI8lI2).

Q Scores are,very generally, indicators of the familiarity and appeal of celebrities. In
this case, Q Score data show high familiarity with Lance Armstrong with above 50%
starting in September 2001 and continuing in the upper 7ï%ollower 80% starting
September 2005. With respect to his Positive Q Score, a notable drop-off occurs between
September 2005 (30) and March 2013 (4). Similarly alarge up-tick in Armstrong's
Negative Q Score occurs with the March 2013 survey (69). Both the decrease in
Armstrong's Positive Q Scores and the Increase in his Negative Q Scores are consistent
with the timing of the negative publicity concerning his use of performance-enhancing
substances and techniques.

IPSOS is a company that studies audiences and their perceptions of various media, and
that measures public opinion trends. A2012 December IPSOS Study indicated that those
who believed Armstrong to be guitty of PED use rated him lower on a variety of personal
                                          oohonest"
characteristics (e.g. "ethical," 'ofair,"           etc.) than those who believed him
innocent. The Study showed that those who believed Armstrong to be guilty of PED use
rated USPS lower on a variety of brand attributes (e.g. "dependable," "ethical," "high
quality" etc.) than those who believed him innocent. Generally, those who believed



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Armstrong to be guilty of PED use were more likely to be negatively impacted (future
purchase intent) than those believing he is innocent. The Study also showed that
respondents with shipping authority were more likely to have decisions negatively
impacted (future purchase intent) by the PED allegations than those without shipping
responsibilities. In short, the Study indicated a relationship between how people felt
about Lance Armstrong and how they felt about UPS.

4. The tarnished image   as a result of Lance Armstrong's PED use   likely reflected
negatively on the USPS and deprived the USPS of the positive associative benefits
expected through their sponsorship of Lance Armstrong's racing team.

From my review of available information, this negative information regarding Lance
Armstrong is highly likely to have negatively affected perceptions of the USPS as there
has been a strong associative link between Lance Armstrong and the USPS, across which
negative affect transfers (Till and Shimp 1998).




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1. United States' Complaint
2. Order Denying Defendants' Motions to Dismiss
3. USADA Reasoned Decision Lance Armstrong
4. 1995 Sponsorship Agreement US Postal Service Cycling Team
5. 2001Sponsorship Agreement US Postal Service Cycling Team
6. IPSOS Sponsorship Evaluation 2012
7. Biannual Lance Armstrong Q Scores March 2000-March20l3
8. FCB 2001 Sponsorship Evaluation
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10.   CE 2003 Tour de France Media Coverage Evaluation
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